                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA




UNIVERSAL FURNITURE                 )
INTERNATIONAL, INC.                 )
                                    )
     Plaintiff,                     )
                                    )
     v.                             )        1:08CV395
                                    )
PAUL FRANKEL                        )
                                    )
     Defendant.                     )



                     MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge.

     On August 4, 2008, Defendant moved under Rule 12(b)(2) of

the Federal Rules of Civil Procedure to dismiss Plaintiff’s

complaint, or, in the alternative, to transfer venue.          (Doc. 7.)

For the reasons set forth herein, Defendant’s motion will be

DENIED.

I.   Facts

     Universal Furniture International, Inc. (“Plaintiff” or

“Universal”), a Delaware corporation with its principal place of

business in North Carolina, is a manufacturer and wholesaler of

home furnishings.    (Compl. (Doc. 1) ¶¶ 3, 9.)       In 2000, Universal

retained a professional furniture design firm, Norman Hekler

Design, Inc. (“Norman Hekler”), to design a new collection of

dining room and bedroom furniture.       (Id. ¶ 10.)     Norman Hekler




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created designs for two furniture collections (the “Collections”)

and assigned all rights and interests it had in the designs to

Universal.   (Id. ¶¶ 10-12, 16-18.)     Universal then applied for

and obtained copyright registration for the designs that

comprised the Collections.      (Id. ¶¶ 15, 21.)     Universal

subsequently manufactured and sold items from the Collections to

furniture retailers.    (See id.)

     On October 22, 2004, Universal filed suit against

Collezione Europa USA, Inc. (“Collezione”) (suit referred to as

“Universal v. Collezione”) alleging that Collezione violated its

intellectual property rights and engaged in unlawful trade

practices.   See Universal Furniture Int’l, Inc. v. Collezione

Europa, USA, Inc., 599 F.Supp.2d 648 (M.D.N.C. 2009).         Universal

claimed that Collezione, without Universal’s authorization,

displayed items from the Collections during the October 2004

International Home Furnishings Market in High Point, North

Carolina (the “NC Furnishings Market”).       Universal further

alleged that Collezione reproduced, sold and distributed those

items from Universal’s product distribution warehouse in

Claremont, North Carolina.     The case was ultimately bifurcated

into two parts: the first part proceeded as a bench trial to

determine liability, while the second part proceeded as a hearing

to calculate any resultant damages.




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     The liability phase of Universal v. Collezione concluded on

September 14, 2007, when the district court entered its Findings

of Fact and Conclusions of Law.      The court found that Collezione

was liable to Universal on several grounds: (1) false

designation/reverse passing off of Universal’s furniture in

violation of the Lanham Act; (2) infringement of Universal’s

copyright in violation of the Copyright Act; and (3) reverse

passing off of Universal’s furniture in violation of North

Carolina’s Unfair and Deceptive Trade Practices Act.         On February

12, 2009, a final judgment was entered against Collezione.

     On June 13, 2008, Universal filed a related action against

Collezione’s co-owner, Paul Frankel (“Defendant” or “Mr.

Frankel”).   (Compl. (Doc. 1).)1    This suit is the subject of the

instant litigation and the pending motion.        Universal now seeks

to hold Mr. Frankel personally liable for the very acts that were

at issue in Universal v. Collezione.      (Id.)    Specifically,

Universal claims that Mr. Frankel, in his capacity as owner and

as the manager responsible for the distribution of furniture from

Collezione’s warehouse in North Carolina, caused Collezione to

display items from the Collections at the October 2004 NC

Furnishings Market and subsequently sell and distribute



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       Universal’s complaint also names Mr. Frankel’s brother,
Leonard Frankel, as a defendant. Leonard Frankel co-owns
Collezione with Mr. Frankel. To date, Leonard Frankel has not
responded to the complaint.

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reproductions of those items without Universal’s authorization.

(Id. ¶ 22; Pl.’s Mem. in Opp’n to Def.’s Mot. (Doc. 10) at 4,

16.)

       In addition to being Collezione’s co-owner, Mr. Frankel is

Collezione’s Chief Operating Officer, Vice President, Secretary

and Treasurer.      (Aff. of P. Frankel (Doc. 9) ¶ 19, Ex. A at 3; P.

Frankel Dep. (Doc. 11-2) at 18.)          In his capacity as Collezione’s

Chief Operating Officer, Mr. Frankel coordinates the distribution

of furniture from Collezione’s North Carolina warehouse, (P.

Frankel Dep. (Doc. 11-2) at 35, 113), and travels to North

Carolina twice a year to attend the NC Furnishings Market, (Aff.

of P. Frankel (Doc. 9) ¶ 19).        Also, Mr. Frankel handles “the

warehousing and order fulfillment side of the business,” [t]he

purchasing and flow of product side of the business,”

“invoicing,” “phone calls from customers, [and] order inquiries.”

(Id. at Ex. A at 7.)       Mr. Frankel attended the October 2004 NC

Furnishings Market, the trade show on which the current action is

largely based.      (Id. at ¶ 49.)    Mr. Frankel is also the co-owner

of a company that owns the North Carolina real estate on which

Collezione’s distribution warehouse is located.           (Id. at Ex. A at

16.)

II.    Discussion

       In response to Universal’s complaint in the instant case,

Mr. Frankel filed a motion contending that the court does not


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have personal jurisdiction over him and that, even if the court

does have jurisdiction, the court should transfer venue from the

Middle District of North Carolina to the Northern District of New

Jersey, New Jersey being the state where Mr. Frankel resides and

Collezione is headquartered.     (Def.’s Mem. in Supp. of Def.’s

Mot. (Doc. 8); Aff. of P. Frankel (Doc. 9) ¶ 2.)        The court will

address the two parts of Mr. Frankel’s motion in turn.

     A.      Motion to Dismiss

     “When a court’s personal jurisdiction is properly challenged

by motion under Federal Rule of Civil Procedure 12(b)(2), the

jurisdictional question thereby raised is one for the judge, with

the burden on the plaintiff ultimately to prove grounds for

jurisdiction by a preponderance of the evidence.”        Mylan Lab.,

Inc. v. Akzo, N.V., 2 F.3d 56, 59-60 (4th Cir. 1993).         However,

as in the present case, when a

     district court decides a pretrial personal jurisdiction
     dismissal motion without an evidentiary hearing, the
     plaintiff need prove only a prima facie case of personal
     jurisdiction.   In deciding whether the plaintiff has
     proved a prima facie case of personal jurisdiction, the
     district court must draw all reasonable inferences from
     the proof, and resolve all factual disputes, in the
     plaintiff’s favor.

Id. at 60.

     “[F]or a district court to assert personal jurisdiction over

a nonresident defendant, two conditions must be satisfied: (1)

the exercise of jurisdiction must be authorized under the state’s

long-arm statute; and (2) the exercise of jurisdiction must

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comport with the due process requirements of the Fourteenth

Amendment.”   Id.   However, because “North Carolina’s long-arm

statute is construed to extend jurisdiction over nonresident

defendants to the full extent permitted by the Due Process

Clause,” the court’s normal two-step inquiry merges into one.

Christian Sci. Bd. of Dirs. of the First Church of Christ v.

Nolan, 259 F.3d 209, 215 (4th Cir. 2001).       That is to say, the

court may exercise personal jurisdiction over the defendant if

the defendant “has such ‘minimal contacts’ with the forum state

such that ‘maintenance of the suit does not offend ‘traditional

notions of fair play and substantial justice.’” Id. (quoting

Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

     There are two types of personal jurisdiction over a

defendant, “specific” and “general.”      A court has personal

jurisdiction over a defendant if either type of jurisdiction

exists.   See Yates v. Motivation Indus. Equip. Ltd., 38 Fed.

Appx. 174, 176 (4th Cir. 2002) (“We view the two species of

personal jurisdiction, general and specific, through distinct

lenses.”).

     “Specific jurisdiction” lies where the plaintiff’s suit

“arises out of the defendant’s activities in the forum state.”

Nichols v. G.D. Searle & Co., 997 F.2d 1195, 199 n.2 (4th Cir.

1993).    Courts consider several factors in determining whether

specific jurisdiction exists: “(1) the extent to which the


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defendant has purposefully availed [himself] of the privilege of

conducting activities in the state; (2) whether the [plaintiff’s]

claims arise out of those activities directed at the state; and

(3) whether the exercise of personal jurisdiction would be

constitutionally ‘reasonable.’”      Carefirst of Md., Inc. v.

Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 397 (4th Cir.

2003) (citations omitted).     “In determining whether jurisdiction

is constitutionally reasonable, [courts] evaluate ‘the burden on

the defendant, the forum State’s interest in adjudicating the

dispute, the plaintiff’s interest in obtaining convenient and

effective relief, the interstate judicial system’s interest in

obtaining the most efficient resolution of controversies, and the

shared interest of the several States in furthering fundamental

substantive social policies.’”     Christian Sci., 259 F.3d at 217

(quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477

(1985)).

     Applying these factors to the present case, this court holds

that it has specific jurisdiction over Mr. Frankel.         Mr. Frankel

purposely availed himself of the privilege of conducting

activities in North Carolina.     First, Mr. Frankel is the co-owner

of the company that owns the Claremont, North Carolina real

property on which Collezione’s distribution warehouse is located.

(See Aff. of P. Frankel (Doc. 9) Ex. A at 16.)        Second, Mr.

Frankel, as co-owner and employee of Collezione, personally


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managed the distribution of furniture though Collezione’s

warehouse in North Carolina.        (P. Frankel Dep. (Doc. 11-2) at

15.)       In coordinating the distribution of furniture from

Collezione’s North Carolina warehouse, Mr. Frankel directed

contact to North Carolina by controlling the activities of

Collezione in the state and utilized infrastructure established

or maintained by the state.2

       Furthermore, Universal’s claims arise out of Mr. Frankel’s

activities in North Carolina.        Universal alleges that Mr. Frankel

violated its intellectual property rights when he caused

Collezione to display certain items of furniture at the October

2004 NC Furnishings Market, a trade show that took place in North

Carolina and at which Mr. Frankel was present in furtherance of

his ownership interests and employment duties.           (See Compl. (Doc.

1) ¶¶ 25-26; P. Frankel Dep. (Doc. 11-2) at 19, 35, 113.)

Universal maintains that Mr. Frankel violated its intellectual

property rights when he coordinated the distribution of furniture

from Collezione’s warehouse located in North Carolina.            (See id.)



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       It is reasonable to infer that Mr. Frankel personally and
purposefully directed the activities of subordinate employees in
North Carolina, such that the court concludes that Mr. Frankel
directed contacts to North Carolina and those contacts were not
random, fortuitous, or attenuated. See ePlus Tech., Inc. v.
Aboud, 313 F.3d 166, 176 (4th Cir. 2002) (“[A] defendant should
be able to anticipate being brought to court in the forum, in
that contacts must be directed at the forum state in more than a
random, fortuitous, or attenuated way.” (citations and quotation
marks omitted)).

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     Additionally, exercising jurisdiction over Mr. Frankel is

constitutionally reasonable.     First, as stated, Mr. Frankel,

through Collezione, has regularly conducted business in North

Carolina.    Second, North Carolina has a substantial interest in

this case.    Universal’s principal place of business is in North

Carolina and Mr. Frankel’s allegedly improper activities occurred

in North Carolina or pursuant to privileges bestowed to him,

through his corporation, under North Carolina law.         (See Compl.

(Doc. 1) ¶¶ 3, 25-26.)

      The court rejects Mr. Frankel’s argument that it lacks

personal jurisdiction over him because his contacts with North

Carolina were not made in his personal capacity, but instead were

made on behalf of Collezione.     (See Def.’s Reply to Pl.’s Mem. in

Opp’n to Def.’s Mot. (Doc. 12) at 2-3.)       A court’s “exercise of

jurisdiction [is] proper if [the defendant] had sufficient

contacts with [the forum state] even if those contacts were made

ostensibly on behalf of [a corporation for which the defendant is

an agent].”   ePlus Tech., Inc. v. Aboud, 313 F.3d 166, 177 (4th

Cir. 2002).   Contrary to Mr. Frankel’s contention, he is not

immune to jurisdiction in North Carolina merely because his

contacts with the state were made on behalf of Collezione.          See

Calder v. Jones, 465 U.S. 783, 790 (1984) (“[T]heir status as

employees does not somehow insulate them from jurisdiction.”).

Mr. Frankel’s personal and direct contacts with North Carolina,


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irrespective of whatever contacts Collezione might have had with

the state, provide the bases for this court to exercise personal

jurisdiction over him.     See id. (An employee’s “contacts with

[the forum state] are not to be judged according to their

employer’s activities there.”); Columbia Briargate Co. v. First

Nat’l Bank in Dallas, 713 F.2d 1052, 1064 (4th Cir. 1983)

(“[W]hen a non-resident corporate agent is sued for a tort

committed by him in his corporate capacity in the forum state . .

. he is properly subject to the jurisdiction of the forum court,

provided the long-arm statute of the forum state is co-extensive

with the full reach of due process.” (emphasis in original

omitted)).3

     B.   Motion to Transfer

     “For the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil

action to any other district or division where it might have been



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       Mr. Frankel contends that he did not actually participate
in the design of any furniture Collezione allegedly produced in
violation of Universal’s intellectual property rights. (Def.’s
Mem. in Supp. of Def.’s Mot. (Doc. 8) at 10.) While this may be
true, the court notes that the claims alleged by Universal
involve not only the design of infringing furniture, but also the
display and sale of infringing furniture. (See Compl. (Doc. 1) ¶
22.) Mr. Frankel admits that the he handled the “the warehousing
and order fulfillment side of the business” and “[t]he purchasing
and flow of product side of the business.” (Aff. of P. Frankel
(Doc. 9) Ex. A at 7.) Accordingly, like in ePlus and Columbia
Briargate, for purposes of this motion, the court finds that Mr.
Frankel participated in the improper acts alleged and the court’s
exercise of jurisdiction over the defendant is proper.

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brought.”   28 U.S.C. § 1404(a).    “The burden of demonstrating the

desirability of transfer for the convenience of the parties and

witnesses lies with the moving party, and in considering the

motions for transfer, a court should not disturb a plaintiff’s

choice of forum unless the defendant shows that the balance of

convenience heavily favors the defendant’s choice.”        Charles v.

Bradley, No. 5:08-CV-124-F, 2009 U.S. Dist. WL 1076771, at *3

(E.D.N.C. Apr. 21, 2009); see also Collins v. Straight, Inc., 748

F.2d 916, 921 (4th Cir. 1984) (“With regard to the question of

change of venue, a district court is required to weigh the

factors involved and unless the balance is strongly in favor of

the defendant, the plaintiff’s choice of forum should rarely be

disturbed.” (internal quotation marks and citation omitted)).

     The following factors commonly are considered in ruling
     on a motion to transfer pursuant to 28 U.S.C. § 1404(a):
     (1) the plaintiff’s initial choice of forum; (2) relative
     ease of access to sources of proof; (3) availability of
     compulsory process for attendance of willing and
     unwilling witnesses; (4) possibility of a view of the
     premises, if appropriate; (5) enforceability of a
     judgment, if one is obtained; (6) relative advantage and
     obstacles to a fair trial; (7) other practical problems
     that make a trial easy, expeditious, and inexpensive; (8)
     administrative difficulties of court congestion; (9)
     local interest in having localized controversies settled
     at home; (10) appropriateness in having a trial of a
     diversity case in a forum that is at home with the state
     law that must govern the action; and (11) avoidance of
     unnecessary problems with conflicts of laws.

Charles, at *2.

     The court finds that Mr. Frankel has not met his burden of

proving that venue should be transferred from the Middle District

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of North Carolina to the Northern District of New Jersey pursuant

to 28 U.S.C. § 1404(a).    First, Universal’s initial choice of

forum is the Middle District of North Carolina.        Although not

dispositive, this fact weighs heavily against transferring venue.

See Gulf Oil v. Gilbert, 330 U.S. 501, 508 (1947)(Under the forum

non conveniens doctrine, “[u]nless the balance is strongly in

favor of the defendant, the plaintiff’s choice of forum should

rarely be disturbed.”), superceded on other grounds by 28 U.S.C.

§ 1404.   Second, judicial economy is served by keeping this case

in the Middle District of North Carolina.       The court is familiar

with many of the facts and laws that underlie the case.         The

claims asserted by Universal in this case mirror those it alleged

in its previous action against Collezione.       In addition, as

previously discussed, the basic facts in both cases are the same.

While it may ultimately be true that Universal v. Collezione is

of no or little precedential value in the present matter, this

court presided over the injunction and damages phase of that case

and extensively reviewed the trial record so as to determine the

amount of damages.   Universal Furniture, 599 F.Supp.2d at 648.

These facts strongly suggest that significant judicial resources

will be saved if Mr. Frankel’s motion to transfer venue is

denied.

     Third, North Carolina has a substantial interest in this

controversy being resolved in the state.      Universal’s principal


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place of business is in North Carolina and many of Mr. Frankel’s

allegedly improper acts occurred in North Carolina or pursuant to

privileges given to him under North Carolina law.         (Compl. (Doc.

1) ¶ 3, 25-26.)    In addition, the NC Furnishings Market, the

trade show largely at the center of the present case, has a

significant impact on the North Carolina economy.         See Parham v.

Weave Corp., 323 F.Supp.2d 670, 673 (M.D.N.C. 2004) (referring to

the NC Furnishings Market as a major furniture show); Casana

Furniture Co. v. Coaster Co. of Am., No. 1:08CV744, 2009 U.S.

Dist. WL 783399, at *4 (M.D.N.C. Mar. 24, 2009) (noting that the

NC Furnishings Market is one of the largest furniture trade shows

in the world).4

     Finally, it will be easier for the parties to access proof

if venue remains in the Middle District of North Carolina.          The

trade show where the furniture at issue was displayed took place

in North Carolina.    (Aff. of P. Frankel (Doc. 9) Ex. A at 16.)

Likewise, the warehouse where the furniture was distributed is

located in North Carolina.     (P. Frankel Dep. (Doc. 11-2) at 15.)

Accordingly, the witnesses to these activities, and any documents

created attendant to Mr. Frankel’s engagement in these


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       North Carolina’s substantial interest in this case also
militates against disturbing Universal’s choice of forum by
granting Mr. Frankel’s motion to transfer venue. See Parham v.
Weave Corp., 323 F.Supp.2d 670, 674 (M.D.N.C. 2004) (stating that
the deference given to the plaintiff’s choice of forum is
proportionate to the relation between the forum and the cause of
action).

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activities, are more likely to be found in North Carolina than

New Jersey.

III. Conclusion

     For the reasons set forth above, Defendant’s motion to

dismiss Plaintiff’s complaint, or, in the alternative, to

transfer venue (Doc. 7) is DENIED.

     This the 27th day of August 2009.




                                        United States District Judge




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